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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

MBA ENGINEERING, INC., as Sponsor
                                §
and Administrator of the MBA    §
ENGINEERING, INC. EMPLOYEES     §
401(K) PLAN and                 §
the MBA ENGINEERING, INC.       §
CASH BALANCE PLAN, and          §
CRAIG MEIDINGER, as Trustee     §
of the MBA Engineering, Inc.    §
Employees 401(k) Plan and the MBA
                                §
Engineering, Inc. Cash Balance Plan,
                                §
Individually and as representative of all
                                §
others similarly situated,      §
                                §
                      Plaintiffs,
                                §
      v.                        §                                Case No: 3:20-cv-01915-E
                                §
                                §
MATRIX TRUST COMPANY,           §
MATRIX SETTLEMENT AND           §
CLEARANCE SERVICES, LLC, and    §
MSCS FINANCIAL SERVICES         §
DIVISION OF BROADRIDGE BUSINESS §
PROCESS OUTSOURCING, LLC,       §
                                §
               Defendants.      §



                    FIRST AMENDED CLASS ACTION COMPLAINT



TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW, Plaintiffs MBA Engineering, Inc. (“MBA”), as sponsor and administrator

of the MBA Engineering, Inc. Employees 401(k) Plan (the MBA Engineering, Inc. Retirement

Plan) and the MBA Engineering, Inc. Cash Balance Plan (collectively, the “Plans”), the Plans in

their own right, and Craig Meidinger (“Meidinger”), as the Plans’ Trustee (MBA, the Plans, and

Meidinger collectively as, “Plaintiffs”), and, who on their own behalf and on behalf of others

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similarly situated, file this Class Action Complaint against Defendant Matrix Trust Company

(“Matrix”), Defendant Matrix Settlement and Clearance Services, LLC (“MSCS”), and Defendant

MSCS Financial Services Division of Broadridge Business Process Outsourcing, LLC, (“MSCS

Financial,” and collectively with MSCS and Matrix, “Defendants”) and would respectfully show

the Court as follows:

                                     I.      INTRODUCTION

        1.        This is a case for strict liability under the Employee Retirement Income Security

Act of 1974 (“ERISA”) and other sections of ERISA and state laws. Defendants unlawfully

retained substantial amounts of monies from over 60,000 account holders (“Customers”) through

nondisclosure and concealment. Without discovery, Plaintiffs cannot estimate the total amount of

money that Defendants unlawfully retained, but in all likelihood, the amounts total many millions

of dollars, if not hundreds of millions or more. 1

        2.        As of this date, Defendants have retained, without satisfying strict disclosure

obligations, three categories of monies: 12b-1 fees, non-float cash interest, and float cash interest

(collectively, the “Funds”). Defendants retained Funds in each of these categories from large

portions of (if not all) Customer assets which averaged roughly over $126 billion, in total, over the

last six years.

        3.        Because of this, Defendants are obligated to repay these Funds to their Customers

under ERISA, ERISA’s implementing regulations, and state law.




1
 For example, rates for 12b-1 fees alone, discussed below, commonly range from 0.25% to
0.75% per annum. This amount by itself would be very large considering Matrix averaged over
$126 billion of custodial assets over the relevant time period.
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                            II.     BACKGROUND INFORMATION

        4.      Defendants are a custodian and service providers who primarily serve employee

benefit plans qualified under ERISA. As a custodian, they are a fiduciary under ERISA. Total Plan

Servs., Inc. v. Texas Retailers Ass'n, Inc., 925 F.2d 142, 143 (5th Cir. 1991) (citing 29 U.S.C. §

1002(14)(A) and holding “All plan administrators, officers, trustees, and custodians are fiduciaries

for purposes of ERISA.”).

        5.      Custodians, like Defendants, are banks which take possession of Customer assets

in exchange for a fee. During the last six years, Defendants experienced rapid growth. In just three

years from 2014 to 2017, Defendants grew their business by more than 400% in customer assets

to almost $200 billion. During this time of rapid and expansive growth, Defendants neglected

multiple regulatory requirements imposed by ERISA and the U.S. Department of Labor (“DOL”)

which impose strict liability.

        6.      A group of requirements Defendants violated, which is germane to this case, is the

disclosure requirements under ERISA Section 408(b)(2). 29 U.S.C. § 1108(b)(2). As set out in

more detail below, Defendants cannot retain any monies as compensation without complying with

highly regulated and narrowly interpreted disclosure requirements. These disclosure requirements

and notices are commonly referred to by the underpinning ERISA Section as “408(b)(2) Notices.”

        7.      Under ERISA, Defendants are strictly liable for any “transaction, if [Defendants]

know or should know that such transaction constitutes a direct or indirect. . . sale or exchange, or

leasing, of any property between the plan and a party in interest. . . [or] transfer to, or use by or for

the benefit of a party in interest, of any asset of the plan.” 29 U.S.C. § 1106(a)(1) (“Prohibited

Transactions”).




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       8.      ERISA’s Prohibited Transaction section is broad in keeping with ERISA’s

mandated purpose of “guaranteeing” that participants receive benefits they are entitled to.

Concrete Pipe & Prod. of Cal., Inc. v. Constr. Laborers Pension Tr. for S. Cal., 508 U.S. 602, 607

(1993) (“Congress wanted to guarantee that if a worker has been promised a defined pension

benefit upon retirement—and if he has fulfilled whatever conditions are required to obtain a vested

benefit—he will actually receive it.”).

       9.      Every payment of compensation to a custodian or other service provider, like

Defendants, falls within ERISA’s Prohibited Transaction definition and would give rise to liability

but for a separate exception mechanism. 77 Fed. Reg. 23, at 5632 (Feb. 3, 2012) (DOL

summarizing this structure). Congress intended the Prohibited Transactions to be the default

position after years of study and drafting; therefore, Congress fashioned an exception for

compensation to service providers, like custodians, rather than defining such compensation out of

ERISA’s Prohibited Transactions. Id.

       10.     For that reason, ERISA Section 408(b)(2) saves service provider compensation

from the broad Prohibited Transaction definition so long as multiple requirements are met (detailed

below). 29 U.S.C. 1108(b)(2) (exempting “Contracting or making reasonable arrangements with a

party in interest for. . . services necessary for the establishment or operation of the plan, if no more

than reasonable compensation is paid therefore.”). 77 Fed. Reg. 23, at 5632 (Feb. 3, 2012).

       11.     Defendants bear the burden of proving entitlement to a prohibited transaction

exception. E.g., Perez v. Bruister, 823 F.3d 250, 265 (5th Cir. 2016) (“Defendants did not carry

their burden to qualify for the ERISA § 408(e) adequate consideration affirmative defense, hence

the transactions between the ESOP and BFLLC were prohibited by ERISA § 406(a)(1)(A)”);

Donovan v. Cunningham, 716 F.2d 1455, 1468 (5th Cir. 1983) (“As the Supreme Court has



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observed in a different context, it seems ‘fair and reasonable’ to place the burden of proof upon a

party who seeks to bring his conduct within a statutory exception to a broad remedial scheme.”).

Defendants’ Disclosure Obligations and Violations

       12.     Defendants’ key wrongdoings in this case stem from their failure to disclose that

their Customers’ assets were earning non-float cash interest, earning float cash interest, whether

or how much they were earning 12b-1 fees, and that Defendants kept that money as compensation.

Alternatively, Plaintiffs allege Defendants failed to disclose that they paid portions of the Funds

to third parties or parties in interest, if discovery later shows they made such payments. Defendants

failed to disclose all the foregoing in violation of multiple duties under ERISA and other laws.

       13.     Defendants’ disclosure obligations are rooted in the “reasonable compensation”

requirement of ERISA Section 408(b)(2). 29 U.S.C. § 1008(b)(2) (only granting the prohibited

transaction exception if compensation was reasonable). The DOL, acting pursuant to

Congressional mandate and entitled to Chevron deference, has defined “reasonable compensation”

to require, at a minimum, disclosure of compensation of any kind. 29 C.F.R. § 2550.408b-

2(c)(1)(iv)(C). The requirement includes direct compensation, indirect compensation, any other

kind of compensation, and expressly includes 12b-1 fees and float interest. Id.; DOL Field

Assistance Bulletin No. 2002-03. Further, Defendants were required to provide these disclosures

in writing. 29 C.F.R. § 2550.408b-2(c)(1)(iv); DOL Field Assistance Bulletin No. 2002-03.

       14.     Custodians and service providers, like Defendants, must provide a direct written

disclosure to their account holders of all compensation they will receive and pay to parties in

interest. Those include 12b-1 fees and all cash-based interest, whether for cash in a float status or

not. Custodians and service providers typically document their disclosures by requiring the

customer to sign a written receipt and saving it to the customer’s account file.



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       15.       Defendants, however, did no such thing. Defendants have a standard custodial

account agreement they use for all customers that has not materially changed, for purposes of this

case, during the entire relevant time period. Defendants standard custodial account agreement does

not provide 408(b)(2) notices for the Funds. Further, Defendants did not employ any other means

to disclose that their customers’ assets were generating the Funds and that Defendants kept them.

Defendants Failed to Disclose 12b-1 Fees That They Unlawfully Kept

       16.       Defendants’ custodial account agreement does not mention 12b-1 fees whatsoever

among its compensation terms, and Defendants never provided supplemental disclosures to their

Customers regarding 12b-1 fees. Defendants used the same custodial account agreement for all of

its customers.

       17.       ERISA and the DOL require all service providers and fiduciaries, including

Defendants, to disclose the following to the plans: (1) the services that will be provided; (2) a

description of all direct compensation; (3) a description of all indirect compensation which

includes disclosure of the (a) exact service that money will be received for; (b) the identification

of the payer of the compensation; and (c) a description of the arrangement between the payer and

the fiduciary or service provider; and (4) a description of all fees charged directly against the plan’s

investment and the amount charged, identification of the services for which the compensation will

be received, and identification of the payers. 29 C.F.R. § 2550.408b-2(c)(1)(iv).

       18.       Rather than following these disclosure requirements, Defendants opted for an

atypical and error-prone 408(b)(2) approach. Rather than ensuring its own compliance with ERISA

Section 408(b)(2) and the DOL’s regulations thereunder, as is required, Defendants ignored the

process and purported to delegate their responsibility to provide Defendants’ customers 408(b)(2)

notices to third party administrators. Defendants cannot, however, shift their obligations to third



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parties pursuant to ERISA. See 29 U.S.C. § 1110(a) (“any provision in an agreement or instrument

which purports to relieve a fiduciary from responsibility or liability for any responsibility,

obligation, or duty under this part [ERISA] shall be void as against public policy”). Further, those

third parties also failed to provide the required disclosures.

        19.     As of the date of this filing, Plaintiffs are already aware of over 100 of Defendants’

customers who never received 408(b)(2) notices from Defendants concerning 12b-1 fees or the

other Funds at issue. For example, Plaintiffs were falsely told by third parties that 90% of the 12b-

1 fees Defendants would receive would be paid to the Plaintiffs. However, records now show that

did not happen. Accordingly, Defendants have, without disclosure, either kept the 12b-1 fees

entirely or paid portions of them to parties in interest. Discovery will reveal what Defendants did

with the 12b-1 fees, but either case constitutes a prohibited transaction. Plaintiff is further informed

and believes and, based thereon, alleges that many thousands more prohibited transactions exist

by virtue of Defendants’ error-prone and legally insufficient 408(b)(2) compliance approach.

Defendants Failed to Disclose Cash Interest They Unlawfully Kept

        20.     In addition to 12b-1 fees, Defendants also kept the interest their Customers’ cash

generated. As the custodian, Defendants would hold cash for their Customers in two

circumstances. The cash would be in either a “float” or “non-float” state. For either situation,

Defendants assert in their custodial agreement that all interest earned by each Customer’s assets

will be applied to the Customer accounts. But this was false.

        21.     Cash is in a float state where it is in the process of being disbursed or invested

pursuant to instructions. See George v. Kraft Foods Global, Inc., 641 F.3d 786, 800–01 (7th Cir.

2011). When it is not in a float state, Defendants would also hold the cash for its Customers. The




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cash, whether in a float state or not, produced interest, and Defendants retained this interest without

disclosing it.

        22.      Defendants never updated their custodial account agreement or took other actions

to comply with ERISA after the DOL revised its regulations in 2002. In 2002, the DOL interpreted

ERISA Section 408(b)(2) and identified minimum requirements for disclosure of float cash

interest. Those requirements include (1) disclosing “specific circumstances under which float will

be earned and retained”; (2) establishing, disclosing, and adhering to specific time frames when

float cash will be invested; (3) disclosing when that float period commences; and (4) disclosing

the rate or manner of determining float interest rate. DOL Field Assistance Bulletin No. 2002-03.

        23.      Courts use this DOL guidance for purposes of ERISA liability. See Ruppert v.

Principle Life Ins. Co., 813 F.Supp.2d 1089 (S.D. Iowa 2010); In re Enron Corp. Sec. Derivative

& ERISA Litig., 284 F. Supp. 2d 511, 592 (S.D. Tex. 2003); Bassiri v. Xerox Corp., 463 F.3d 927,

930–33 (9th Cir. 2006).

        24.      Defendants failed to disclose these required items; therefore, they are not entitled

to rely on ERISA Section 408(b)(2) for the float cash interest they retained.

Defendants Failed to Disclose the Interest on Customer Cash Assets that They Unlawfully
Retained.

        25.      In addition to unlawfully retaining 12b-1 fees and float cash interest, Defendants

also kept all interest their Customers’ cash earned. Defendants’ form custodial agreement is

completely silent on this form of compensation. Defendants also did not disclose the interest

earned by their customer’s cash anywhere else.

        26.      To the contrary, Defendants’ custodial account statements instead portrayed a

deceptive picture that their Customers’ cash did not earn any interest. Defendants provided

Customer statements that represented that the Customers’ assets did not earn any interest. Those


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statements affirmatively represented the Customers’ assets earned zero dollars in interest. In

actuality, Defendants’ Customers earned interest on their cash, and Defendants wrongfully kept it

for themselves.

                                  III.    CLASS ALLEGATIONS

       28.       Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the defined classes below.

       29.       Numerosity of Classes: The members of the Classes are so numerous that joinder

of all members is impractical. Defendants act as the custodian and affiliated service provider for

over roughly 60,000 Customer benefit plans, all of whom could bring claims for these violations.

Joining each plan and each participant is impractical and a waste of judicial resources.

       30.       Existence of Predominance of Common Questions of Fact and Law: Moreover,

numerous questions of law and fact are common to the Classes and predominate over questions

affecting only individual Class members. Common legal and factual questions include, but are not

limited to:

              a. Whether Defendants are a fiduciary of the Plan and Classes;

              b. Whether Defendants entered into prohibited transactions under ERISA;

              c. Whether Defendants met an exception under the prohibited transactions section of

                 ERISA;

              d. Whether Defendants retained 12b-1 fees;

              e. Whether Defendants disclosed 12b-1 fees;

              f. If Defendants disclosed 12b-1 fees, was the disclosure adequate under ERISA;

              g. Whether Defendants retained non-float interest on cash assets;

              h. Whether Defendants disclosed non-float interest on cash assets;



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             i. If Defendants disclosed non-float interest on cash assets, whether the disclosure

                was adequate under ERISA;

             j. Whether Defendants retained float interest on cash assets;

             k. Whether Defendants disclosed float interest on cash assets to its Customers;

             l. If Defendants disclosed float interest on cash assets, whether the disclosure was

                adequate under ERISA;

             m. Whether Defendants breached their fiduciary duties under ERISA by engaging in

                the conduct described herein;

             n. Whether Defendants breached their fiduciary duties under state law by engaging in

                the conduct described herein;

             o. Whether Defendants were unjustly enriched for retaining the Funds;

             p. Whether the Funds were the property of the Classes;

             q. Whether Defendants unjustly retained the property of the Classes;

             r. Whether Plaintiffs are entitled to injunctive relief requiring Defendants to stop its

                practice of retaining float interest on cash assets;

             s. Whether Plaintiffs are entitled to equitable relief requiring Defendants to return the

                Funds to their customers;

             t. Whether Plaintiffs are entitled to injunctive relief requiring Defendants to stop its

                practice of failing to disclose float interest on cash assets to its Customers; and

             u. Whether Defendants raise any affirmative defenses that are universal in application.
       31.       Typicality: Plaintiffs’ claims are typical of the members of each Class because

they are all based on the same nondisclosures. Defendants used the same form custodial account

documents for all members of each Class who executed it, but the documents did not provide the



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required disclosures. Defendants also maintain the custodial account documents in a Customer

specific file in the same way for all members of each Class. Defendants’ website further confirms

that it uses the same custodial account agreement. Further, Defendants did not provide the required

disclosures to the Class in any other way. Thus, whether each Class member executed the custodial

agreement or not, Defendants failed to make their required disclosures concerning the Funds.

       32.     Adequacy: Plaintiffs will also fairly and adequately represent the Classes, and have

retained counsel experienced and competent in the prosecution of ERISA litigation and class

actions. Plaintiffs have no interests antagonistic to those of other members of the Classes. Plaintiffs

are committed to the vigorous prosecution of this action, and anticipate no difficulty in the

management of this litigation as a class action. Plaintiffs’ counsel has also committed the resources

to adequately represent the Class.

       33.     Superiority: This action may be properly certified under Federal Rule of Civil

Procedure 23(b)(1). Class action status in this action is warranted under Rule 23(b)(1)(A) because

prosecution of separate actions by the members of the Classes would create a risk of establishing

incompatible standards of conduct for Defendants. Class action status is also warranted under Rule

23(b)(1)(B) because prosecution of separate actions by the members of the Classes would create a

risk of adjudications with respect to individual members of the Classes that, as a practical matter,

would be dispositive of the interests of other members not parties to this action, or that would

substantially impair or impede their ability to protect their interests.

       34.     Alternatively, this action may also be properly certified under Rule 23(b)(2)

because Defendants acted or refused to act on grounds generally applicable to the Classes, thereby

making final injunctive, declaratory, or other appropriate equitable relief applicable to the Classes

as a whole.



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       35.     Additionally, this action can be properly certified under Rule 23(b)(3) because the

questions of law or fact stated above that are common to all Class members predominate over any

questions affecting only individual members and the class action is a superior method for fairly

and effectively adjudicating the controversy.

                                 IV.     CLASS DEFINITIONS

       39.     This class action is divided into the following Classes:

               ERISA 12b-1 Class: All of Defendants’ Customers which were ERISA
               qualified plans whose assets generated 12b-1 fees that Defendants retained.

               Non-ERISA 12b-1 Class: All of Defendants’ Customers which were not
               ERISA qualified plans whose assets generated 12b-1 fees that Defendants
               retained.

               ERISA Non-Float Class: All of Defendants’ Customers which were
               ERISA qualified plans whose cash assets generated interest when not in a
               float status that Defendants retained.

               Non-ERISA Non-Float Class: All of Defendants’ Customers which were
               not ERISA qualified plans whose cash assets generated interest when not in
               a float status that Defendants retained.
               ERISA Float Class: All of Defendants’ Customers that were ERISA
               qualified plans whose cash assets generated interest when in a float status
               that Defendants retained.

               Non-ERISA Float Class: All of Defendants’ customers that were not
               ERISA qualified plans whose cash assets generated interest when in a float
               status that Defendants retained.

       40.     Hereinafter, the ERISA 12b-1 Class, the ERISA Non-Float Class, and the ERISA

Float Class shall be referred to collectively as the “ERISA Classes.” The Non-ERISA 12b-1 Class,

the Non-ERISA Non-Float Class, and the Non-ERISA Float Class shall be referred to collectively

as the “Non-ERISA Classes.” Both the ERISA Classes and the Non-ERISA Classes shall be

referred to collectively as the “Classes.”




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                                         V.      PARTIES

       41.     Plaintiff MBA Engineering, Inc. (“MBA”) is a corporation organized and existing

under the laws of Minnesota, with its principal place of business in Shoreview, Minnesota. MBA

is the Plans’ Sponsor under ERISA 29 U.S.C. § 1002(16)(A), the Plans’ Administrator under

ERISA 29 U.S.C. § 1002(16)(A), and a fiduciary of the Plans under ERISA 29 U.S.C.

§§ 1002(21)(A), 1102. As a fiduciary with respect to the Plans, MBA may bring this action against

Defendants pursuant to ERISA. 29 U.S.C. §§ 1132(a)(2-3). Like all putative Class members, MBA

had custodial accounts for each of the Plans with Defendants which produced 12b-1 fees, float

interest, and non-float interest which Defendants retained.

       42.     Plaintiff MBA Engineering, Inc. 401(k) Plan (“MBA 401(k) Plan”) is a qualified

plan under ERISA with legal status to sue in its own right. 29 U.S.C. § 1132(d). Like all putative

Class members, the MBA 401(k) Plan was a Customer of Defendants, and its assets generated

12b-1 fees, float interest, and non-float interest, all of which Defendants retained.

       43.     Plaintiff MBA Engineering, Inc. Cash Balance Plan (“MBA Cash Plan”) is a

qualified plan under ERISA with legal status to sue in its own right. Id. Like all putative Class

members, the MBA Cash Plan was a Customer of Defendants, and its assets generated 12b-1 fees,

float interest, and non-float interest, all of which Defendants retained.

       44.     Plaintiff Craig Meidinger is an individual. Mr. Meidinger is the owner of MBA,

and Trustee of the Plans. As Trustee of the Plans, Mr. Meidinger is a fiduciary with respect to the

Plans under ERISA 29 U.S.C. §§ 1002(14)(A), 1102. As a fiduciary with respect to the Plans, Mr.

Meidinger may bring this action against Defendants pursuant to ERISA. 29 U.S.C. § 1132(a)(2–

3).




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       45.     Defendant Matrix Trust Company is a bank incorporated under the laws of

Delaware, with its principal place of business located at 717 17th Street, Suite 1300, Denver,

Colorado 80202. Matrix is a fiduciary to the Plans pursuant to ERISA 29 U.S.C. §§ 1002(21)(A),

1102(a)(1), 1103(a), because it, in fact, exercised authority and control over the management or

disposition of the Plans’ assets. See also Total Plan Servs., Inc. v. Texas Retailers Ass'n, Inc., 925

F.2d 142, 143 (5th Cir. 1991) (citing 29 U.S.C. § 1002(14)(A) and holding “All plan

administrators, officers, trustees, and custodians are fiduciaries for purposes of ERISA.”). Matrix

“will, by definition, always be a fiduciary under ERISA as result of its authority or control over

plan assets.” Employee Benefits Security Administration, United States Department of Labor,

Field Assistance Bull. No. 2004-03, Fiduciary Responsibilities of Directed Trustees (2004). Matrix

is also a service provider to the Plans as defined by the DOL because it entered into contracts with

the Plans or the TPA’s of the Plans to perform services and expected compensation of over $1,000.

29 C.F.R. § 2550.408b-2(c)(1)(iii). Matrix exercised control over the Plans’ and Class members’

assets by depositing them in an account at a separate financial institution over which it had

exclusive control, writing checks to be paid by the Plans’ assets, directing wire transfers to be paid

by the Plan’s assets, and retaining the Funds without disclosing them.

       46.     Defendant Matrix Settlement & Clearance Services, LLC (“MSCS”) is a wholly-

owned subsidiary of the same parent company as Matrix. MSCS is incorporated under the laws of

Delaware, with its principal place of business located at 717 17th Street, Suite 1300, Denver,

Colorado 80202. Matrix contracted with MSCS to perform services for the Plans and Class

members. MSCS accepted compensation for those services from the Plans and Class members as

well as from their assets. MSCS is also a fiduciary to the Plans pursuant to ERISA 29 U.S.C. §§

1002(21)(A), 1102(a)(1), 1103(a), because it, in fact, exercised authority and control over the



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management or disposition of the Plans’ assets by retaining the Funds without disclosing them.

MSCS is also a service provider to the Plans and Class members as defined by the DOL because

it entered into contracts with the Plans or for the Plans to perform services and expected

compensation of over $1,000. 29 C.F.R. § 2550.408b-2(c)(1)(iii). MSCS provided customer

service support functions to the Plans’ and Class members which included handling contributions,

disbursements, investments, addressing questions, and other actions. MSCS also developed

software it licensed to Matrix to automate some of these Customer service function. Matrix used

that software for the Plans’ and all Class members.

       47.     Defendant MSCS Financial Services Division of Broadridge Business Process

Outsourcing, LLC (“MSCS Financial”) is also owned by the same parent company as Matrix.

MSCS Financial is incorporated under the laws of Delaware in or about 2001, with its principal

place of business located at 717 17th Street, Suite 1300, Denver, Colorado 80202. Matrix

contracted with MSCS Financial to perform services for the Plans and Class members. MSCS

Financial collected, retained, and exercised control over 12b-1 fees at issue in this case without

providing required disclosure. MSCS Financial is also a fiduciary to the Plans pursuant to ERISA

29 U.S.C. §§ 1002(21)(A), 1102(a)(1), 1103(a), because it, in fact, exercised authority and control

over the management or disposition of the Plans’ assets by retaining the Funds without disclosing

them. MSCS Financial is also a service provider to the Plans and Class members as defined by the

DOL because it entered into contracts with the Plans or for the Plans to perform services and

expected compensation of over $1,000. 29 C.F.R. § 2550.408b-2(c)(1)(iii). MSCS Financial

provided customer service support functions to the Plans’ and Class members including expressly

receiving 12b-1 fees as identified by Matrix.




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                                     VI.     JURISDICTION

       48.     The Court has subject matter jurisdiction over this class action under 28 U.S.C.

§ 1332(d)(2) as the aggregate value of the case is over $5,000,000 and several members of the

putative class are citizens of a different state from the Defendant.

       49.     The Court has personal jurisdiction over Defendants because Defendants have

sufficient minimum contacts with the United States and with Texas to satisfy due process. ERISA

allows for broad nationwide service of process on defendants in any district where they reside or

may be found. Id. When a federal statute allows for nationwide service of process, the minimum

contacts inquiry turns to whether the defendant has minimum contacts with the United States. Bush

v. Buchman, Buchman & O’Brien Law Firm, 11 F.3d 1255, 1258 (5th Cir. 1994); Leaf Trading

Cards, LLC v. Upper Deck Co., No. 3:17-cv-03200-N, 2018 WL 2971135, at *1–2 (N.D. Tex.

March 16, 2018); Mba Eng’g, Inc. v. Vantage Benefits Adm’rs, Inc., No. 3:17-CV-3300-L (BK),

2019 U.S. Dist. LEXIS 106209, at *8 (N.D. Tex. March 5, 2019). Because Defendants are

incorporated in Delaware and have their principal place of business in Colorado, Defendants have

minimum contacts with the United States. See Bush, 11 F.3d at 1258; Leaf Trading Cards, 2018

WL 2971135, at *1–2. Moreover, Defendants do business in the state of Texas, including acting

as the custodian for many Texas plans and hundreds of plans which are/were administered in

Texas. Defendants have also not opposed personal jurisdiction in other cases in this District. See

Mba Eng’g, 2019 U.S. Dist. LEXIS 106209, at *8.

                                           VII.   VENUE

       50.     Venue properly lies in the Northern District of Texas pursuant to 29 U.S.C.

§ 1132(e)(2) for two reasons. First, this district is where many of the Class’s ERISA plans were

administered. 29 U.S.C. § 1132(e)(2). Over 100 ERISA qualified plans and Class members were



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administered in the Northern District of Texas. See Def. Matrix’s Answer and Counterclaims at

¶ 10, Mba Eng’g, Inc. v. Vantage Benefits Adm’rs, Inc., No. 3:17-CV-3300-L (BK), (N.D. Tex.

March 5, 2019) (“Matrix entered into Custodial Agreements with many of the more than 100 plans

for which Vantage [a business located in the Northern District of Texas] acted as TPA”).

         51.      Second, for venue purposes, Defendants reside in this district. Peay v. BellSouth

Med. Assistance Plan, 205 F.3d 1206, 1210 n.3 (10th Cir. 2000). Where a defendant resides for

ERISA venue purposes, is wherever a defendant is subject to personal jurisdiction. Id.; Frost v.

ReliOn, Inc., No. 3:06-CV-0822-GECF, 2007 WL 670550, at *5–6 (N.D. Tex. March 2, 2007).

Therefore, because ERISA allows for personal jurisdiction over a defendant that maintains

minimum contacts with the United States, Defendants reside in Texas and venue is proper. Frost,

2007 WL 670550, at *5–6.

         52.      This District Court has also already determined this district to be a proper venue for

unrelated litigation between Plaintiffs and Matrix. See Mba Eng’g, 2019 U.S. Dist. LEXIS 106209,

at *8.

                                     VIII. CAUSES OF ACTION

                        A.     COUNT I – ERISA PROHIBITED TRANSACTIONS
                      (By Plaintiffs and the ERISA Classes against all Defendants)

         53.      Plaintiff incorporates and realleges each of the foregoing paragraphs as if fully set

forth herein.

         54.      ERISA § 406(a–b) provides, in relevant part, that:

               (a)(1) A fiduciary with respect to a plan shall not cause the plan to engage in a
               transaction, if he knows or should know that such a transaction constitutes a
               direct or indirect—

               ....




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                (D) transfer to, or use by or for the benefit of, a party in interest, of any
                assets of the plan. . .

             (b) A fiduciary with respect to a plan shall not—

                (1) Deal with the assets of the plan in his own interest or for his own
                    account, . . . or

                 ...

                (3) Receive any consideration for his own personal account from any party
                    dealing with such plan in connection with a transaction involving the
                    assets of the plan.
29 U.S.C. § 1106(a–b) (“Prohibited Transactions”).

       55.      ERISA § 409 makes a fiduciary who breaches any of the fiduciary responsibilities

under ERISA, including entering into a prohibited transaction, liable to the Plans for any losses

sustained by the Plans, for any profits the fiduciary received from the Plans’ assets, and any other

equitable or remedial relief. 29 U.S.C. § 1109. These Prohibited Transactions were made to

provide courts bright line rules and per se violations of ERISA fiduciary duties. Donovan v.

Cunningham, 716 F.2d 1455, 1465 (5th Cir. 1983).

       56.      Fiduciary status under ERISA is to be construed liberally and is to be analyzed in

light of the actions alleged. Bannistor v. Ullman, 287 F.3d 394, 401 (5th Cir. 2002). ERISA

provides that an entity is a fiduciary if it “functions” as a fiduciary. 29 U.S.C. § 1002(21)(A). An

entity functions as a fiduciary if it “exercises any authority or control respecting management or

disposition of its assets.” Id. (emphasis added).

       57.      At all relevant times, Defendants were fiduciaries with respect to the Class. Total

Plan Servs., Inc. v. Texas Retailers Ass'n, Inc., 925 F.2d 142, 143 (5th Cir. 1991) (holding “All

plan administrators, officers, trustees, and custodians are fiduciaries for purposes of ERISA” and

citing 29 U.S.C. § 1002(14)(A)).



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        58.     The Class assets were held in accounts operated by Defendants. Each of the Class

assets generated the Funds that Defendants unilaterally collected, retained, and/or disposed of

under the claim of compensation. Under general property principals, interest and fees generated

from assets are the property of the owners of the underlying assets; therefore, the Funds produced

by the Class assets remain the property of the Class. Because Defendants were without any

authority to retain and/or dispose of the fees and interest accrued, Defendants’ actions constitute

actual authority and control over the management and disposition of the Class assets—making

Defendants functioning fiduciaries.

        59.     Defendants entered into three (3) types of Prohibited Transactions by retaining the

Funds, which were Class assets. See 29 U.S.C. § 1106(a-b). First, under ERISA § 406(a)(1)(D), a

fiduciary is liable if it causes the direct or indirect transfer to, use by, or for the benefit of a party

in interest of the plan assets. 29 U.S.C. § 1106(a)(1)(D). ERISA defines a “party in interest” as a

fiduciary of a plan or a service provider of the plan. 29 U.S.C. § 1002(21)(a-b). Defendants in this

case, as stated above, are functional fiduciaries and service providers because they provided

custodial services to each Class member. Moreover, because the Funds are Class assets, retaining

the Funds for the benefit of Defendants constitutes a prohibited transaction. Therefore, Defendants

are liable to the Class for all of the Funds they retained as well as any profit that they derived from

the Funds. Further, Plaintiffs expressly plead, in addition or in the alternative, that any payment of

the Funds, or portions thereof, by Matrix to MSCS or any other party in interest, including third

party administrators, constituted prohibited transactions for which Matrix cannot establish an

exception and is therefore liable.

        60.     Second, under ERISA § 406(b)(1), a fiduciary is prohibited from dealing with plan

assets in its own interest. 29 U.S.C. § 1106(b)(1). By retaining the Funds or paying them to parties



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in interest without disclosure, Defendants have kept the plan assets for themselves or exercised

their own judgment as to their disposition. Because Defendants are fiduciaries and service

providers to the Class members, Defendants entered into a prohibited transaction by dealing with

Class assets in their own interest. Further, Defendants were never authorized to make these

prohibited transactions.

       61.     Third, under ERISA § 406(b)(3), a fiduciary is prohibited from receiving for itself

any consideration from any party dealing with the plan from a transaction involving the assets of

the plan. 29 U.S.C. § 1106(b)(3). Here, third parties paid Defendants the Funds that were generated

from the Class assets. Defendants then retained the Funds for themselves. Because Defendants

retained the Funds, they have received consideration for transactions involving plan assets—a

prohibited transaction.

       62.     Defendants have the burden to establish and cannot establish they meet an

exemption from liability for a Prohibited Transaction because they did not disclose the existence,

payment, or their retention of the Funds. ERISA § 408(b) removes certain transactions from the

Prohibited Transaction list in § 406. 29 U.S.C. § 1108(b). The only potential exemption that would

allow Defendants to retain the fees and interest is ERISA § 408(b)(2). 29 U.S.C. § 1108(b)(2).

This section allows a fiduciary to enter into a contract with a party in interest for services for the

plan if no more than reasonable compensation is paid. Id. (Emphasis added).

       63.     However, compensation is per se not reasonable. Compensation will only be

deemed reasonable if the fiduciary provides strict disclosures of the compensation. In 2012, the

Department of Labor (“DOL”), pursuant to Congressional delegation and Chevron deference,

determined that no compensation is reasonable if it is not disclosed to the ERISA plan. 29 C.F.R.

§ 2550.408b-2(c)(1)(i) (“No contract or arrangement for services between a covered plan and a



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covered service provider . . . is reasonable within the meaning of Section 408(b)(2) of the

Act . . . unless the [disclosure] requirements of this paragraph (c)(1) are satisfied.”). Compensation

covered by this regulation includes 12b-1 fees, float interest, and non-float interest. See 29 C.F.R.

§ 2550.408b-2(c)(1)(i).

        64.     To assist with disclosure requirements for ERISA fiduciaries and service providers,

the DOL issued a Field Assistance Bulletin laying out several requirements for disclosing float

income to avoid entering into a Prohibited Transaction. DOL Field Assistance Bulletin No. 2002-

03. These requirements include: (1) disclosing “specific circumstances under which float will be

earned and retained”; (2) establishing, disclosing, and adhering to specific time frames float cash

will be invested; (3) disclosing when float period commences; and (4) disclosing the rate or manner

of determining float interest rate. Id.

        65.     Here, Defendants failed to make any disclosures of the 12b-1 fees, float interest, or

non-float interest they retained. This includes Defendants’ failure to follow the Department of

Labor’s Bulletin requirements. Additionally, Defendants presented inaccurate account statements

to the Plaintiffs and Class members to make it appear that their assets did not generate any interest.

This is false because the assets earned interest and Defendants kept it for themselves. Because

Defendants did not disclose that they retained the Funds as compensation, this compensation is per

se unreasonable. By retaining the Funds, Defendants entered into Prohibited Transactions that fall

outside the protection of an exemption. Therefore, Defendants are liable to the Class for all of the

Funds retained as well as any profits that were generated from the use of these Class assets.




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                       B.       COUNT II – BREACH OF FIDUCIARY DUTY
                 (By Plaintiffs and the ERISA Classes against all Defendants)

       66.      Plaintiffs incorporate and reallege each of the foregoing paragraphs as if fully set

forth herein.

       67.      As described above, the Class assets in Defendants’ custody generated the Funds

that Defendants in their sole authority collected, retained, and/or disposed of under the claim of

compensation. Because Defendants lacked any authority to retain or dispose of the Funds,

Defendants’ actions constitute actual authority and control over the management and disposition

of the Class assets, making Defendants functioning fiduciaries under ERISA. 29 U.S.C.

§ 1002(21)(A).

       68.      Defendants breached their fiduciary duties under ERISA to act solely for the benefit

of the Plans and to act with the “care, skill, prudence, and diligence” ERISA requires by retaining

the Funds without disclosing the existence and retention of the Funds. 29 U.S.C. § 1104(a)(1).

       69.      Defendants also failed to act solely in the interest of the participants and

beneficiaries of the Plans and for the exclusive purpose of providing benefits to participants and

their beneficiaries and defraying reasonable expenses of plan administration, in violation of

ERISA. Id.

       70.      By retaining the Funds, Defendants acted against the best interest of the Plans by

receiving compensation that was never disclosed or contemplated by the Plans. As fiduciaries,

Defendants had an obligation to disclose that they had the right to receive fees and interest as

compensation and the amount that they would retain on a consistent periodic basis.

       71.      By failing to disclose the Funds that Defendants retained, Defendants breached

their fiduciary duties causing the Class to lose millions of dollars. Defendants are liable to the

Class under ERISA for all harm the Class has suffered as a result of Defendants’ breaches.


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          72.   As fiduciaries, Defendants may not disclaim any responsibilities under ERISA. 29

U.S.C. § 1110. Accordingly, any provision of the agreements which Defendants may contend

relieves it of or limits its responsibility is invalid.

                     C.      COUNT III – EQUITABLE RELIEF UNDER ERISA
                  (By Plaintiffs and the ERISA Classes against all Defendants)

          73.   Plaintiff incorporates and realleges each of the foregoing paragraphs as if fully set

forth herein.

          74.   Alternatively even if Defendants are not fiduciaries, an ERISA plan or fiduciary

may seek restitution and other equitable relief from non-fiduciary parties in interest to prohibited

transactions. 29 U.S.C. §§ 1106, 1132(a)(3); Harris Trust & Sav. Bank v. Salomon Smith Barney,

Inc., 530 U.S. 238 (2000); Perez, 823 F.3d at 272–75. If a non-fiduciary receives plan assets in

violation of the prohibited transaction provision, the non-fiduciary will then be required to restore

the plan assets to the plan and disgorge any profits derived from the plan assets. Salomon, 530 U.S.

at 250.

          75.   A party in interest includes somebody that provides services to an ERISA plan. 29

U.S.C. § 1002(14)(B). A service provider includes a custodian of plan assets who receives

compensation for its services. 29 C.F.R. § 2550.408b-2(c)(1)(iii)(C).

          76.   Defendants are service providers to each of the Class plans as they provided

services for the Class assets. As service providers, Defendants are parties in interest to prohibited

transactions.

          77.   Non-fiduciary service providers, like fiduciaries, may not retain compensation

without disclosing it to the applicable plan. 29 C.F.R. § 2550.408b-2(c)(1)(i) (“The requirements

of this paragraph (c)(1) are independent of fiduciary obligations under section 404 of the Act.”);

DOL Field Assistance Bulletin No. 2002-03. Failure to disclose the compensation constitutes a


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prohibited transaction. 29 C.F.R. § 2550.408b-2(c)(1)(i); DOL Field Assistance Bulletin No.

2002-03.

          78.     As stated above, Defendants retained or disposed of the Funds without disclosing

that information to Plaintiffs or the Class. Because Defendants were service providers and failed

to comply with ERISA disclosure requirements, the Class is entitled to all the Funds retained by

Defendants as well as the profits earned on those Funds.

                   D.      COUNT IV – STATE LAW BREACH OF FIDUCIARY DUTY
                 (By Plaintiffs and the Non-ERISA Classes against all Defendants)

          79.     Plaintiffs incorporate and reallege each of the foregoing paragraphs as if fully set

forth herein.

          80.     For the Non-ERISA Classes, Defendants have breached their state law fiduciary

duties.

          81.     Defendants are fiduciaries to the Non-ERISA Class under statute. See Colo. Rev.

Stat. §§ 15-1-507, 15-1-509, 15-1-510. Specifically, Defendants are Colorado trust companies who

act as custodians. Because they are custodians, Defendants are deemed as fiduciaries. Id. § 15-1-

507.

          82.     Under statute, Defendants owed the Non-ERISA Class a duty to act reasonably and

equitably with due regard to their obligations and responsibilities toward the interests of the

beneficiaries.

          83.     The property held by Defendants as custodians of the Class is fiduciary property.

Id. Under general property law, all interest or fees generated from the principal remains the

property of the principal. Because the Class assets generated the Funds, the Funds were also Class

assets. By retaining the Funds for themselves or disposing of them, Defendants violated their

fiduciary duty to the Class members.


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         84.   Moreover, Defendants are fiduciaries to the Non-ERISA Class under common law

agency principles. Defendants were agents of the Class. Specifically, the agreements between the

parties expressly provide for the agency relationship. As agents, Defendants are fiduciaries to the

Class.

         85.   As agents, Defendants owed the Non-ERISA Class multiple fiduciary duties. Those

duties include: (1) to act with care, competence, and diligence normally exercised by agents in

similar circumstances; (2) to take action only within the scope of actual authority; (3) to act

reasonably and refrain from conduct likely to damage the Non-ERISA Class; (4) to use reasonable

efforts to notify the Non-ERISA Class of material facts Defendants knew, had reason to know, or

should have known; (5) to act loyally to the Non-ERISA Class’s benefit; and (6) to act in

accordance with the express and implied terms of the agency agreement.

         86.   Defendants breached each one of these duties by retaining the fees and interest that

rightfully belonged to the Non-ERISA Class. Moreover, Defendants knew that they were retaining

the fees and interest that were generated by the Non-ERISA Class assets and never attempted to

notify the Non-ERISA Class. By retaining the assets rightfully belonging to the Non-ERISA Class,

Defendants damaged the Non-ERISA Class.

         87.   As a result of these breaches, the Non-ERISA Class suffered harm by losing the

Funds and the earnings that would have been generated by the Funds. Therefore, Defendants are

liable to the Non-ERISA Class for all harm that they have suffered as a result of Defendants’

breaches.

         88.   Defendants’ breaches also constitute willful and wanton conduct because they

purposefully retained the Funds that belonged to the Non-ERISA Class. Accordingly, the Non-

ERISA Class is entitled to exemplary damages. Colo. Rev. Stat. § 13-21-102.



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                               E.      COUNT V – UNJUST ENRICHMENT
                       (By Plaintiffs and all the Classes against all Defendants)

          89.      Plaintiffs incorporate and reallege each of the foregoing paragraphs as if fully set

forth herein.

          90.      Unjust enrichment is a state common law remedy that occurs when a person has

wrongfully secured a benefit or passively received one which would be unconscionable to retain.

See Scott v. Scott, 428 P.3d 626, 636 (Colo. Ct. App. 2018); Eun Bok Lee v. Ho Chang Lee, 411

S.W.3d 95, 111 (Tex. App.—Houston [1st Dist.] 2013, no pet.). The ERISA Class 2 also brings

this claim in the alternative if the Court does not find that Defendants are a fiduciary. See Smith v.

Provident Bank, 170 F.3d 609, 616–17 (6th Cir. 1999); Sky Toxicology, Ltd. v. United Healthcare

Ins., Co., 5-16-cv-01094-FB-RBF, 2018 U.S. Dist. LEXIS 150245, at *14–17 (W.D. Tex. Sept. 4,

2018); Kersh v. United Healthcare Ins., Co, 946 F. Supp. 2d 621, 638–39 (W.D. Tex. 2013).

          91.      Under general and long-standing common law principles, interest and fees belong

to the owner of the principal whereby they were generated. For instance, if a person owns $100

and that $100 generates $5 in interest, the person who owned the $100 also owns the $5. Here, the

Class assets generated the Funds. Therefore, based on property law, the Class owns the Funds.

          92.      However, Defendants retained the Funds. By retaining these Funds, Defendants

deprived the Class of their rightful property. Because the Funds are the property of the Class, it

would be unjust to allow the Defendants to remain in possession of the Funds. Therefore, the Funds

retained by Defendants should be restored to the Class.




2
    Along with the Non-ERISA class.

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                                F.      COUNT VI – CONVERSION
                    (by Plaintiffs and all the Classes against all Defendants)

       93.      Plaintiffs incorporate and reallege each of the foregoing paragraphs as if fully set

forth herein.

       94.      The Class brings this claim for conversion against Defendants for the retention of

the Funds. The ERISA Class also brings this claim in the alternative if the Court finds that

Defendants were not fiduciaries. See Smith, 170 F.3d at 616–17; Sky Toxicology, 2018 U.S. Dist.

LEXIS 150245, at *14–15; Kersh, 946 F. Supp. 2d at 638–39.

       95.      Defendants wrongfully exercised dominion and control over property belonging to

the Class. As stated above, the Funds are the property of the Class under general property rules

that “interest follows principal.” Defendants retained the Funds wrongfully and without

authorization to do so.

       96.      Therefore, the Class is entitled to restitution of the Funds held by Defendants that

were generated from Class assets along with damages.

                         G.      COUNT VII – MONEY HAD & RECEIVED
                    (by Plaintiffs and all the Classes against all Defendants)

       97.      Plaintiffs incorporate and reallege each of the foregoing paragraphs as if fully set

forth herein.

       98.      The Class brings this claim for money had and received against Defendants for the

retention of the Funds. The ERISA Class also brings this claim in the alternative if the Court finds

that Defendants were not fiduciaries. See Smith, 170 F.3d at 616–17; Sky Toxicology, 2018 U.S.

Dist. LEXIS 150245, at *14–15; Kersh, 946 F. Supp. 2d at 638–39.

       99.      Defendants hold money that, in equity and good conscience, belongs to Plaintiffs.

Specifically, the Funds under general property law belong to the Class. Defendants had no



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authority to retain these Funds and never disclosed that they were retaining the Funds. Also,

Defendants affirmatively stated that the Class assets did not produce interest when in fact

Defendants were retaining the interest.

       100.    Therefore, in good conscience, the Plaintiffs are entitled to restitution of the Funds

that Defendants retained from Class assets.

                                    IX.       JURY DEMAND

       101.    Plaintiffs hereby demand, individually and on behalf of the Class members a trial

by jury.

                                       X.      DAMAGES

       WHEREFORE, Plaintiffs, on behalf of themselves and as representative of all others

similarly situated, respectfully requests that this Court enter judgment as follows:

           a. Declaring that this action is properly maintainable as a class action;

           b. Certifying the Class according to the definitions above;

           c. Naming Plaintiffs’ Counsel as Class Counsel;

           d. Naming Plaintiffs as Class Representatives;

           e. Awarding the Class the amount of 12b-1 fees, float interest, and non-float interest
              retained by Defendants to put Plans in the position they would have been in but for
              Defendants’ improper self-compensation;

           f. Attorney’s fees and other costs of court;

           g. Pre- and post-judgment interest; and

           h. Such other and further relief as this Court may deem just and proper.




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                                             Respectfully submitted,

                                             MCCATHERN, PLLC

                                             /s/Justin N. Bryan
                                             Arnold Shokouhi
                                             State Bar No. 24056315
                                             arnolds@mccathernlaw.com
                                             Justin N. Bryan
                                             State Bar No. 24072006
                                             jbryan@mccathernlaw.com
                                             D. Aaron Dekle
                                             State Bar No. 24100961
                                             ddekle@mccathernlaw.com
                                             3710 Rawlins Street, Suite 1600
                                             Dallas, Texas 75219
                                             Telephone: (214) 741-2662
                                             Facsimile: (214) 741-1741

                                             Evan Selik
                                             PRO HAC VICE APPLICATION FORTHCOMING
                                             California Bar No. 251039
                                             eselik@mccathernlaw.com
                                             523 West Sixth Street, Suite 830
                                             Los Angeles, California 90014
                                             Telephone: (213) 225-6150
                                             Facsimile: (213) 225-6151

                                             ATTORNEYS FOR PLAINTIFFS

                                CERTIFICATE OF SERVICE

        I, the undersigned attorney, hereby certify that a true and correct copy of the foregoing
 was served on all counsel of record through the Court’s CM/ECF system on October 21, 2021.

                                                            /s/Justin N. Bryan
                                                            Justin N. Bryan




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                    EXHIBIT B
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                                                                                                                                          Broadridge
                                                                                                                                                 Matrix
                                                                                                                                                 TRUST COMPAN



                                                            Fee Schedule and Disclosures

 INSERT
 I NSERT PLAN NAME
 (the
 (    "Plan")
  the "Plan")
 This fee schedule pertains to the services ("Services")
                                             ("Services") covered in the Client Agreement with Matrix Trust Company ("Matrix
                                                                                                                      ("Matrix Trust"),
                                                                                                                               Trust"),
 aand
   nd is intended as the service provider disclosure statement to fiduciaries that have the authority to enter into, extend,
                                                                                                                     extend, or renew
 Matrix
  M atrix Trust's provision of services to the Plan. If you are in receipt of this schedule and are not the responsible Plan fiduciary
  under
  u nder 29 C.F.R. Sec.
                   Sec. 2550.408b-2 ("408(b)(2)"),
                                     ("408(b)(2)"), please forward this disclosure to that fiduciary's attention.

 If
 If Matrix Trust's appointment is as a directed (non-discretionary)
                                                 (non-discretionary) trustee,
                                                                      trustee, with regard to providing services to the Plan,
                                                                                                                        Plan, Matrix Trust
 is serving in a limited fiduciary capacity under ERISA.
                                                  ERISA. If Matrix Trust's appointment is not as trustee,
                                                                                                  trustee, Matrix Trust is not serving in a
 fiduciary capacity under ERISA except to the extent that Matrix Trust explicitly agrees to and acknowledges its fiduciary capacity.
                                                                 TRUST/CUSTODY SERVICES

 Annual Market Value Fees:
                       Fees:
 Plan With Total Assets of Less Than $25MM
                                     $25MM                                           basis points
 Plan With Total Assets of $25MM
                           $25MM - $100MM                                            basis points
 Plan With Total Assets Over $100MM                                                I basis point

 Conditionally Accepted Assets'
                        Assets'                                                   •basis
                                                                                    basis points

 Annual Fees:
         Fees:
 Custodian Fee                                                                    $
                                                                                  $           per plan
 Trustee Fee (includes
             (includes custodial services)
                                 services)                                        $
                                                                                  $           per plan
 Separate Employer Accounts                                                       $
                                                                                  $          per employer account

                                                           DISBURSEMENT-RELATED SERVICES

 Outgoing Bank Wire                                                               $ Meach
                                                                                  $    each
 One Time Checks                                                                  $ leach
                                                                                  $   each
 Recurring Checks                                                                 $ leach
                                                                                  $   each
 ACH Transfers                                                                    $ leach
                                                                                  $   each
 Stop Payment                                                                     $ Meach
                                                                                  $    each
 In-Kind
 I n-Kind Distribution                                                            $Meach
                                                                                  $    each
 Form 1099/W-2                                                                    $ leach
                                                                                  $   each
 Form 1099/W-2 Replacement                                                        $ leach
                                                                                  $   each

                                                                    ADDITIONAL SERVICES

 Unitization   (readily priced securities)
 U nitization (readily         securities) - Annual Fee'
                                                    Fee'                          $
                                                                                  $           per NAV
 Unitization    (hard to price securities)
 U nitization (hard            securities) - Annual Fee                           $
                                                                                  $           per NAV
 1041
 1041 Tax Form                                                                    $
                                                                                  $          per form
 Extraordinary Services                                                           $
                                                                                  $          per hour
 Termination Fee                                                                  $
                                                                                  $          per plan
 Self-Directed Brokerage Account (SDBA):
                                       (SDBA):
    Initial
    I nitial Account Set-Up                                                       $. each
                                                                                  $
    Annual Fee @  @ connected broker                                              $
                                                                                  $   each (in
                                                                                           (in addition to the Annual Market Value Fees listed above)
                                                                                                                                               above)
    Annual Fee @  @ non-connected broker                                          $
                                                                                  S=  each (in
                                                                                           (in addition to the Annual Market Value Fees listed above)
                                                                                                                                               above)




1
1 Please refer to the Operational Guidelines in the Client Agreement for complete details.
2 Account must be
2                   maintained at a "connected"
                                    "connected" brokerage firm or consist of eligible daily valuation compliant investment options.
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HIGHLY CONFIDENTIAL-ATTORNEYS'
       CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                                              Appendix
                                                                                                                                           DEF030
                                                                                                                                               00002881
                                                                                                                                               00002881
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                                                                                                                  Broadridge
                                                                                                                           Matrix
                                                                                                                            TRUST COMPANY


                                       TERMS, CONDITIONS AND REQUIRED DISCLOSURES
 The Plan's third-party administrator may impose administration fees, which are in addition to the afore-mentioned fees. The afore-
 mentioned fees do not include investment manager or consultant fees. The afore-mentioned fees do not include any brokerage or
 other sub-custodian commissions, unless otherwise noted. The afore-mentioned fees also do not include mutual fund sales
 charges/loads or brokerage commissions imposed by broker-dealers or mutual fund families. An applicable mutual fund prospectus
 or statement of additional information may provide for the waiver of plan level mutual fund sales charges/loads. In order for the
 fees to be included, the Plan Sponsor or the Responsible Plan Fiduciary or a person identified by the Plan Sponsor or the Responsible
 Plan Fiduciary to act as the Authorized Person (the "Authorized Person") may be required to complete additional documentation.
 The afore-mentioned fees also do not include real estate appraisal fees, annual inspection costs, insurance premiums or other like
 costs associated with any real property that may be held in the account.

 The fees listed in the Trust/Custody Services section are charged on a per plan basis and include:
 • Electronically transmitted transactions • Asset transfer and set-up in one account per plan
 • Quarterly and annual statement (maximum of two duplicate sets) • Proxy delivery to the Plan Sponsor or other designated party
 • Wire receipts for employer and employee contributions and master note loan repayments (if applicable)
 • Interest, dividend, and capital gains posting; processing of capital changes (splits, reorganizations, etc.)

 Additional fees may be charged for:
 • Extraordinary services • Checks received with insufficient funds • Overnight mailing ($25 per mailing)
 • Administration of special assets, including transaction and outgoing wire charges for special assets

 Fees are billed quarterly in advance. To the extent fees are asset based, fees will be calculated utilizing a daily average balance for
 the previous invoice period. Fees shall be paid by the account, unless otherwise directed by the Plan Sponsor or Authorized Person.
 To the extent Matrix Trust fees are paid by the account, the fees represent direct compensation paid to Matrix Trust. To the extent
 that Matrix Trust fees are paid by the Plan Sponsor and not reimbursed by plan assets, the fees do not represent direct or indirect
 compensation paid to Matrix Trust for purposes of 408(b)(2). Matrix Trust fees outstanding for more than 90 days from the billing
 date may be deducted directly from the account.

I.   INDIRECT COMPENSATION
     Matrix Trust may receive indirect compensation in connection with Services:
     •   in the form of "float" income
     •   through its affiliate(s) and/or other parties as described below, and to the extent applicable, with respect to Investment
         Related Administrative Fee Services, Brokerage Accounts, Retirement Cash Account, ModelTool(K)itTm, Level Compensation
         Services, ETF/Closed End Fund Trading Services, Stale Dated Check Services, and Proceeds of Corrective Transactions.

     A.   CASH SUB-ACCOUNTING SERVICES/FLOAT INCOME
          Matrix Trust also provides sub-accounting services to certain banking institutions, with respect to cash held on a short-term
          basis in their omnibus accounts. With respect to the Plan, this may occur where, for example, Plan funds are awaiting
          investment, distribution or other processing. As described below under the section titled: "Matrix Trust - Float Disclosure
          for Employee Benefit Plans," Matrix Trust may derive compensation from the use of this short-term cash, which is referred
          to as "float income". Currently, Matrix Trust has arrangements with two banks — JP Morgan Chase and TD Bank — under
          which the banks pay float income to Matrix Trust in exchange for its sub-accounting services. Float income is reflected as
          an earnings credit or service fee on monthly bank invoices.

          The exact amount of float income credited from these two banks to Matrix Trust cannot be described in precise terms,
          because the rate of float income paid fluctuates over time (it generally tracks the Federal Funds Rate), and it is also
          impossible to predict exactly how much Plan cash will be held on a short-term basis, and for how long. Please refer to the
          section below titled "Matrix Trust - Float Disclosure for Employee Benefit Plans" for more information.

     B.   MATRIX TRUST - FLOAT DISCLOSURE FOR EMPLOYEE BENEFIT PLANS
          1. Additional Compensation Attributable to Float
             Matrix Trust may derive compensation from the use of cash held on behalf of client plans pending investment,
             distribution or other processing. This compensation is referred to as "float". The disclosures contained in the following
             paragraphs have been prepared in accordance with U.S. Department of Labor guidance contained in Field Assistance
             Bulletin 2002-3 concerning service provider float disclosure obligations to employee benefit plan customers.
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                                                                                                                            Matrix
                                                                                                                             TRUST COMPANY


              In connection with Matrix Trust's provision of services to plan customers, Matrix Trust maintains various
              banking arrangements to facilitate movements of cash as necessary to process plan customer transactions,
              including arrangements with one or more banks. Under these arrangements, cash may be held in general or
              "omnibus" bank accounts established by or at the direction of Matrix Trust, pending investment, trade
              settlement, or the presentment of distribution checks for payment. These accounts generate float earnings for Matrix
              Trust. The proportionate share of those earnings attributable to the funds of a particular plan constitutes
              compensation that is paid by the plan and retained by Matrix Trust in connection with Matrix Trust's services and is in
              addition to any other fees or compensation payable under the service arrangement.

              As of the date of this disclosure, Matrix Trust's only banking arrangements described above are with JPMorgan Chase,
              N.A. and TD Bank, N.A, both of which are unaffiliated institutions to Matrix Trust.

              The paragraphs below describe the specific circumstances under which float will be earned and retained, the time
              frames applicable to float earnings periods, and a general description of the rate of float earnings.

         2.   Circumstances and Time Frames During Which Float May Be Earned
              a) Contributions
                  Plans direct cash contributions to Matrix Trust through a demand deposit account Matrix Trust maintains for that
                  purpose. Matrix Trust credits the amount of a plan's cash contribution to the plan's Matrix Trust account ("Client
                  Account") on the business day it is received. If the Client Account uses a cash sweep, the cash contribution is
                  swept from the demand deposit account and invested on the plan's behalf on the next business day. Matrix Trust
                  earns float on the cash contribution between the business day of deposit and the next business day. A "business
                  day" is a day on which the New York Stock Exchange is open for business.

                   If a Client Account does not use a cash sweep, Matrix Trust earns float on the cash contribution from the business
                   day of deposit until Matrix Trust receives investment instructions from the plan and the investment transaction
                   settles. Upon Matrix Trust's receipt of investment instructions in good order, settlement of mutual fund trades
                   generally occurs within one business day and settlement of individual securities trades (i.e., stocks and bonds)
                   generally occurs within three business days.

              b)   Purchases of Securities for the Client Account
                   When Matrix Trust receives instructions, in good order and in accordance with prescribed procedures, to purchase
                   a security for a Client Account, Matrix Trust places the purchase trade order that same business day if the
                   instructions are received prior to Matrix Trust trading cut-off times. If instructions are received after the Matrix
                   Trust trading cut-off times, the purchase trade order is placed on the next business day.

                   When Matrix Trust settles a purchase trade order for a Client Account, Client Account assets required to pay for
                   the purchase are transferred to a demand deposit account maintained by Matrix Trust on the trade settlement
                   date. When a purchase trade order is cancelled or rejected, the funds previously set aside to pay for the purchase
                   are re-credited to the Client Account and either invested through the cash sweep, if applicable, or retained in the
                   deposit account pending other investment instructions, as described above.

              c)   Sales of Securities for the Client Account
                   When Matrix Trust receives instructions, in good order and in accordance with prescribed procedures, to sell a
                   security for a Client Account, Matrix Trust places the sale trade order that same business day if the instructions are
                   received prior to Matrix Trust trading cut-off times. If instructions are received after the Matrix Trust trading cut-
                   off times, the sale trade order will be placed on the next business day.

                   When Matrix Trust places or settles a sale trade for a Client Account, the Client Account receives the sales
                   proceeds on the trade settlement date. If the Client Account does not use a sweep, Matrix Trust will earn float
                   from the date Matrix Trust receives the sale settlement proceeds until Matrix Trust receives instructions to
                   reinvest the sale proceeds as described above.

              d)   Payments from Client Accounts
                   Matrix Trust may earn float when it issues checks on behalf of plans including checks for (i) distributions to
                   participants and/or beneficiaries, (ii) participant loan distributions, or (iii) fees paid to plan service providers.
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                                                                                                                    Broadridge
                                                                                                                              Matrix  CO.MoANv
                                                                                                                              TRUST
                                                                                                                              TR4 1ST COMPANY



                  Matrix
                  M atrix Trust does not earn float when payments or distributions are made by direct deposit (ACH)
                                                                                                              (ACH) or by a federal
                  funds wire transfer.

                  Matrix
                  M atrix Trust will mail a distribution check to a plan participant or beneficiary on the payable date (the
                                                                                                                        (the date printed
                  on the check). On the same day, day, Matrix Trust debits the Client Account in the amount of the check.
                                                                                                                     check. Matrix Trust
                  will earn float on the amount of the check from the date the check is issued until the date the check is presented
                  and paid.

                  Where
                  W here Matrix Trust has been directed to establish periodic or recurring distribution checks,
                                                                                                          checks, such payments are
                  typically mailed to plan participants and beneficiaries prior to the payable date (for
                                                                                                    (for example,
                                                                                                         example, periodic payments
                  are mailed six business days prior to the payable date). Matrix Trust debits the Client Account in the amount of
                  the checks on the payable date. Matrix Trust is able to mail the checks before assets are withdrawn from the
                  Client Account and sold because periodic distributions are of a predictable amount (generally
                                                                                                       (generally a set dollar amount
                  each payment cycle). Matrix Trust will only earn float on the amount of the check from the date the check is
                  payable until the date check is presented and paid.

                  On a periodic basis, Matrix Trust will notify clients of outstanding periodic and lump sum distribution checks that
                  Matrix
                  M atrix Trust has issued. If an originally-issued check is reported lost or missing,
                                                                                              missing, Matrix Trust will re-issue the check
                  upon
                  u pon receipt of direction from the client and/or other authorized party to instruct on the account. If the
                  participant or beneficiary does not negotiate the check within a reasonable time,
                                                                                                  time, Matrix Trust reserves the right to
                  re-credit (redeposit)
                            (redeposit) the payment to the Client Account and to invest these funds at the direction of a Client
                  Account fiduciary, or to disburse the funds as directed or otherwise in accordance with applicable law.

         3.
         3. Rate On Float Earnings
            The rate at which Matrix Trust earns float over the time periods described above is generally comparable to the
            effective Federal Funds Rate as reported in the Wall Street Journal over the applicable time frame.
                                                                                                         frame.

    C.
    C. INVESTMENT RELATED ADMINISTRATIVE FEE SERVICES (if elected and to the extent applicable)
                                                                                              applicable)
       Where
       W here Matrix Trust has been so authorized,
                                         authorized, Matrix Trust through its affiliate and registered broker dealer,
                                                                                                               dealer, MSCS Financial
       Services Division of Broadridge Business Process Outsourcing,
                                                            Outsourcing, LLC ("MSCS
                                                                              ("MSCS Financial"), may receive fees from certain
       investment companies,
                   companies, mutual funds,
                                        funds, stable value funds,
                                                            funds, guaranteed investment contracts,
                                                                                             contracts, guaranteed annuity contracts
                                       (the "Funds")
       and similar investment vehicles (the "Funds") in the form of 12b-1                                         fees), or in the form
                                                                    12b-1 fees or firm concessions (i.e., finders fees),
                                                                            ("Mutual Fund Fees").
       of shareholder servicing, sub-transfer agent and sub-accounting fees ("Mutual

         In
         I n accordance with the Administrative Fee Collection Addendum,
                                                                   Addendum, Matrix Trust may deposit an amount equal to a
         percentage (or
                     (or percentages)
                         percentages) of the Mutual Fund Fees collected to an Administrative Fee Account for the administrative
         services provided to the Plan ("Administrative
                                          ("Administrative Fees"). The Administrative Fees will remain in the Administrative Fee
         Account until Matrix Trust is instructed to disburse it.

         MSCS Financial is compensated by the collection of Mutual Fund Fees.
                                                                          Fees. In accordance with an intercompany agreement
         between MSCS Financial and Matrix Trust,
                                            Trust, MSCS Financial pays to Matrix Trust the Administrative Fee,
                                                                                                          Fee, which Matrix Trust,
                                                                                                                            Trust,
         in turn,
            turn, pays out in accordance with the Administrative Fee Collection Addendum.
                                                                                  Addendum. MSCS Financial may retain for its
         services an amount up to M/0
                                    % of Mutual Fund Fees collected.

         Administrative Fees are generated only to the extent the following are all true:
                                                                                    true:
         •
         •  the Plan has selected its investment options from those that are available on the Matrix Trust platform;
                                                                                                             platform;
         •
         •  the Plan has holdings in investment options which generate Mutual Fund Fees;Fees; and
         •
         •  the Plan Sponsor or Authorized Person has authorized Matrix Trust,
                                                                             Trust, through its affiliate, to collect the Mutual Fund
            Fees.
            Fees.

         If
         If the Plan is trading on Matrix Trust's trading platform and Mutual Fund Fees are available for the plan investment options
         selected for the Plan,
                            Plan, available Mutual Fund Fees are identified on the Plan fund list in the Sub-TA and 12b-1
                                                                                                                    12b-1 columns for
         each investment option listed and is paid by the investment provider offering the fund.
                                                                                            fund.




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HIGHLY CONFIDENTIAL-ATTORNEYS'
       CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                     Appendix
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                                                                                                                                 TRUST COMPANY


    D.
    D. CERTAIN BROKERAGE ACCOUNTS (if elected and to the extent applicable)
                                                                       applicable)
       If
       If the Plan offers a self-directed brokerage account ("SDBA")
                                                            ("SDBA") option to Plan participants, SDBA balances remain subject to
       the services and fees described under other sections of this schedule,
                                                                    schedule, to the extent applicable.

         Also, where the named Fiduciary of the Plan and/or its authorized representative(s)
                                                                                 representative(s) has directed Matrix Trust to establish
         aan
           n SDBA that is a TD Ameritrade Brokerage Account,
                                                        Account, pursuant to an agreement with TD Ameritrade,
                                                                                                       Ameritrade, Matrix Settlement and
                    Services, LLC ("MSCS")
         Clearing Services,       ("MSCS") will provide account reconciliation services,
                                                                                services, account set-up and maintenance,
                                                                                                               maintenance, movement of
         cash between the Plan's core accounts and SDBAs, SDBAs, and related administrative tasks. For these services and others,
                                                                                                                            others, MSCS
          will
          w ill receive quarterly,
                        quarterly, in arrears,
                                      arrears, an amount equal to             ((= basis points)
                                                                                            points) of the value of Plan assets in the TD
         Ameritrade SDBAs during such quarter,
                                            quarter, based on the average of the Plan assets held in the SDBAs on the last business day
         of each month in the applicable quarter. This rate shall apply for the calendar quarter ending March 2020 and shall
          decrease as follows to Wo % ((I basis point)                                          2020, then
                                                  point) for the calendar quarter ending June 2020,                % ((= basis points)
                                                                                                                               points) for
         the calendar quarter ending September 2020,  2020, then 10 % ((M basis points)
                                                                                      points) for the calendar quarter ending December
         2020 with subsequent quarters to be calculated at the rate of                 % ((M     basis points). TD Ameritrade pays these
         fees to MSCS.
                   MSCS.

         In
         I n all cases,
                 cases, the fees described above do not include brokerage commissions or other fees payable to TD Ameritrade,
                                                                                                                  Ameritrade, or
         other SDBA provider,
                        provider, who are unaffiliated with Matrix Trust,
                                                                   Trust, MSCS and MSCS Financial.

    E.
    E. RETIREMENT CASH ACCOUNT (if elected and to the extent applicable)
                                                                    applicable)
       Matrix
       M atrix Trust receives fees with respect to the Retirement Cash Account,
                                                                          Account, to the extent permitted by Applicable Rules,
                                                                                                                          Rules, for
       providing services with respect to the account and the accountholders. Specifically, as provided under an agreement with
       JPMorgan Chase Bank,
                          Bank, N.A. ("JPMCB"),
                                     ("JPMCB"), Matrix Trust receives a servicing fee in exchange for providing sub-accounting and
                services, processing transactions and reconciling aggregate account activity with respect to funds deposited in the
       support services,
       Retirement Cash Account with JPMCB.
                                        JPMCB. The servicing fee is deducted by Matrix Trust from the total interest paid to Matrix
       Trust by JPMCB,
                JPMCB, and is the difference between the total interest rate paid to Matrix Trust by JPMCB and the stated interest
       rate paid to plan participants on their investments in the Retirement Cash Account.
                                                                                    Account. In other words,
                                                                                                      words, the servicing fees paid
       to Matrix Trust reduce the interest rate paid to plan participants by a corresponding amount.
                                                                                             amount.

         At each rate of total interest paid by JPMCB (from
                                                          (from 0.00% up to 5.00%),
                                                                              5.00%), the share of such total interest that is credited as the
         "stated
         " stated rate" of interest to plan participants on their Retirement Cash Account balances,
                                                                                               balances, and the share of such total interest
         that is retained by Matrix Trust as its servicing fees,
                                                             fees, are set forth under a pre-established rate table. Such servicing fees are
         based on the average daily deposit balances in the Retirement Cash Account.Account. The rate of the servicing fee that Matrix Trust
         receives may exceed the interest rate or effective yield the depositors receive from the Retirement Cash Account.      Account. No
         portion of these servicing fees will reduce or offset the fees otherwise due to Matrix Trust unless required by Applicable
         Rules.
         R ules. "Applicable Rules"
                                Rules" means all applicable federal and state laws,laws, rules and regulations,
                                                                                                   regulations, rules of any self-regulatory
         organization, and the constitution and applicable rules, regulations,
         organization,                                                               customs, and usages of the exchange or market and its
                                                                       regulations, customs,
         clearinghouse. Unless stated otherwise in Schedule 1,       1, other than the applicable fees charged on plan custody accounts,
                                                                                                                                    accounts,
         there are no separate charges,
                                    charges, fees (other
                                                  (other than the servicing fee described above),
                                                                                            above), or commissions paid to Matrix Trust or
         its affiliates as a result of, or otherwise in connection with,
                                                                    with, the Retirement Cash Account.
                                                                                                Account.

         For more specific information,
                           information, the current interest rate payable at any given time will be available online at:
         https://www.broadridge.com/resource/matrix-trust-company.

         A copy of the full rate table and the current interest rate payable at any given time may be obtained by calling Matrix
         Trust Client Services at 888-947-3472.
                                  888-947-3472.

         Current Retirement Cash Account disclosures and rates payable are likewise available online at:
         https://www.broadridge.com/
         https://www.broadridge.com/ assets/pdf/broadridge-msb-retirement-cash-account.pdf.

         As of February 1,  2021, the total rate of interest being paid by JPMCB is 0.20% (20
                        1, 2021,                                                             (20 basis points), and as provided in the rate
         table, this means that Matrix Trust's servicing fees are equal to 0.15% (15
         table,                                                                     (15 basis points). However,
                                                                                                        However, as the total interest rate
         paid by JPMCB increases,
                        increases, the servicing fees will likewise increase,
                                                                     increase, and if the total interest rate paid by JPMCB decreases,
                                                                                                                             decreases, the
         servicing fees will likewise decrease.
                                      decrease. While the full rate table is available and accessible (as   (as explained above),
                                                                                                                          above), it is very
         voluminous. However,
         voluminous.   However, the following summarizes the general ranges of the stated interest rates paid to Plan participants
         and Matrix Trust's servicing fees at various rates of total interest, as determined under the rate table:
                                                                                                               table:
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HIGHLY CONFIDENTIAL-ATTORNEYS'
       CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                       Appendix
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                                                                                                                            Matrix
                                                                                                                            TRUST COMPANY



           When
           W hen the total rate of interest paid    The stated interest rate paid to plan         The servicing fees retained by
            (annually) by JPMCB is between:
           (annually)                between:            participants ranges from:
                                                                              from:                 Matrix
                                                                                                    M atrix Trust ranges from:
                                                                                                                         from:
                    0.00%
                    0.00% and 0.50%                           0.00% and 0.13%                            0.00% and 0.37%
                    0.51%
                    0.51% and 1.00%                           0.13% and 0.25%                            0.38% and 0.75%
                    1.01% and 2.00%                           0.26% and 0.50%                            0.75% and 1.50%
                    2.01%
                    2.01% and 3.00%                           0.51% and 1.23%                            1.50% and 1.77%
                    3.01%
                    3.01% and 4.00%                           1.23% and 1.90%                            1.78% and 2.10%
                    4.01%
                    4.01% and 5.00%                           1.91% and 2.63%                            2.10% and 2.37%

         Based upon the total rates of interest paid by JPMCB in recent periods,
                                                                             periods, and the total rates of interest that Matrix Trust
         generally expects that JPMCB would intend to pay in the future,
                                                                      future, a reasonable estimate of the servicing fees retained by
         Matrix
         M atrix Trust would usually be between 0%0% and 2.37%.
                                                          2.37%. However,
                                                                   However, we should emphasize that Matrix Trust cannot control or
         predict the total interest rates payable by JPMCB in the future,
                                                                    future, which makes it impossible to predict the rate of Servicing
         Fees we will receive at any given time. Therefore,
                                                   Therefore, to help you make a fully informed decision about whether to utilize (or
                                                                                                                                    (or
         continue utilizing) the Retirement Cash Account at any given time,time, we strongly recommend that you access the online
         materials or contact Matrix Trust Client Services as described above,
                                                                        above, to be provided with more detailed information.

    F. MODELTOOL(K)IT"SERVICES (if elected and to the extent applicable)
    F.                                                             applicable)
       Where
        W here the named Fiduciary of the Plan and/or its authorized representative(s)
                                                                        representative(s) has entered into an agreement to subscribe
       to ModelTool(k)itTm ("MTK")
                            ("MTK") for the Plan,
                                            Plan, a total annual fee of         % ((M basis points), the ModelTool(k)itTm Platform Fee,
                                                                                                                                   Fee,
       charged monthly in arrears applies to the market value of assets covered under the MTK agreement.
                                                                                                      agreement. This fee is deducted
        directly from the Plan account from the assets covered under the MTK agreement. agreement. Of the total fee, fee, a third-party
       subcontractor of MSCS,
                          MSCS, Envestnet Retirement Services ("ERS")
                                                                   ("ERS") receives approximately (no  (no less than)
                                                                                                                than) Wo % ((M basis
        points)
        points) as its compensation for providing services detailed in the Plan's MTK agreement,
                                                                                              agreement, and MSCS itself will retain
       aapproximately  (no more than)
         pproximately (no        than)       % ((M basis points)
                                                          points) for facilitating MTK as a service on the MSCS trading platform. All
       other applicable services and fees will continue to apply,
                                                           apply, except that if investments subject to the MTK agreement generate
       Mutual
        M utual Fund Fees,
                      Fees, MSCS Financial will collect such Mutual Fund Fees as compensation,
                                                                                      compensation, but Matrix Trust will credit back
        Administrative Fees in an amount equal to one hundred percent (100%)
                                                                           (100%) of such Mutual Fund Fees to the TPA.
                                                                                                                    TPA.

    G.
    G. LEVEL COMPENSATION SERVICES (if elected and to the extent applicable)
                                                                         applicable)
       Where
       W here the named Fiduciary of the Plan has engaged a broker (registered
                                                                           (registered representative)
                                                                                       representative) whose firm utilizes the Matrix
       Trust Level Compensation Services,
                                   Services, in addition to any other applicable services and fees,
                                                                                              fees, MSCS Financial will serve as Broker
       of Record for investment transactions,
                                  transactions, and will retain up to Wo % ((I basis points)
                                                                                      points) of the Plan's total assets,
                                                                                                                  assets, with such fees
       coming from any 12b-1                                     ("Level Compensation Fees")
                          12b-1 fees and shareholder servicing ("Level                   Fees") it collects from Funds on behalf of the
       broker. For certain Plans whose investment lineup pays differing compensation per investment,
                                                                                                investment, brokers may receive Level
       Compensation Fees based on an approximate weighted average ("Weighted  ("Weighted Average")
                                                                                           Average") of fees paid by or on behalf of
       Funds.
       Funds. Where Weighted Average is in place,place, MSCS Financial may retain an overage in the amount fees received from or on
                      Funds. This overage amount may be an amount up to _'o % ((I basis points)
       behalf of the Funds.                                                                   points) of Plan assets because Weighted
       Average Level Compensation Fee percentages are set by MSCS on Wo % ((I basis point)  point) increments. If you have engaged an
       investment adviser for your plan whose firm utilizes the RIA Remittance Services of the MSCS Level Compensation Services,Services,
       in addition to any other applicable services and fees,
                                                          fees, MSCS will be paid a fee of up to        % ((M basis points)
                                                                                                                    points) of the Plan's
                    (also referenced as "Level Compensation Fees"). With respect to brokers,
       total assets (also                                                                 brokers, the Level Compensation Fees are in
       exchange for MSCS Financial's administrative services in collecting and distributing Level Compensation Fees to the
       broker. With respect to investment advisers,
                                                advisers, the Level Compensation fees are in exchange for MSCS's administrative
       services in collecting from the TPA and distributing to the investment adviser the adviser's advisory fees (i.e., facilitating RIA
       fee remittance services). Per the agreement setting forth the Level Compensation Services between MSCS and the broker-
                                        firm, this compensation is deducted from Level Compensation Fees as received from the
       dealer or investment advisory firm,
       Plan's Funds.
              Funds.

    H.
    H. ETF/CLOSED END FUND TRADING SERVICES (if elected and to the extent applicable)
                                                                                    applicable)
       In
       I n addition to all other applicable services and fees,
                                                         fees, if the Plan offers one or more exchange-traded funds ("ETFs")
                                                                                                                     ("ETFs") and/or
                           ("CEFs") as investment options to Plan participants, a third-party subcontractor of MSCS,
       closed end funds ("CEFs")                                                                               MSCS, Virtu Americas
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030118
030118                                                                                                   Matrix        Fee Schedule 020121
                                                                                                                                    020121

HIGHLY CONFIDENTIAL-ATTORNEYS'
       CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                   Appendix
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                                                                                                                      Broadridge-
                                                                                                                                 Matrix'
                                                                                                                                 Matrix'
                                                                                                                                 TRUST COMPANY



          LLC ("Virtu")
              ("Virtu") (formerly
                        (formerly known as "Knight
                                              "Knight Capital Group"      "KCG") receives certain commissions for executing ETF/CEF
                                                              Group" or "KCG")
          trades processed on the MSCS trading platform (per (per the agreement between Matrix Trust/MSCS and the TPA). TPA). Per the
          agreement between Matrix Trust/MSCS and the TPA,  TPA, the commissions paid to Virtu are generally deducted directly from
          the Plan account (i.e., "netted"
                                  "netted" from the ETF/CEF trade)
                                                               trade) unless,
                                                                      unless, per the agreement between Matrix Trust/MSCS and the
          TPA, the TPA is invoiced for such charges instead. Virtu's commission charges,
          TPA,                                                                   charges, as the executing ETF/CEF broker, are:
                                                                                                                   broker, are:

          •
          •   $$= per share per ETF/CEF trade received by MSCS prior to 3:00 pm Eastern Time,
                                                                                          Time, or one (1)
                                                                                                       (1) hour prior to market
               close, with market on close execution;
               close,                      execution; or
          •
          •   $$M per share per ETF/CEF trade processed during market hours (with
                                                                            (with pricing changing throughout the trading day).

          MSCS (along
                  (along with Matrix Trust and MSCS Financial)
                                                       Financial) does not retain any of Virtu's commissions described above;
                                                                                                                       above; rather,
          Virtu receives 100% of these additional ETF/CEF commissions.
                                                             commissions. However,
                                                                           However, Virtu's commissions are in addition to, not in lieu
          of, all other applicable fees,
                                   fees, including but without limitation the Administrative Fees described above under the heading
          "Investment
          "Investment Related Administrative Fee Services".

          ETF/CEF trade instructions may be received by MSCS after market close. When this occurs,      occurs, the transaction will be
          processed the following business day.
                                              day. Because the price of an investment may change between the receipt of instructions
          and the execution of instructions, a transaction may result in either a shortfall or an excess. If the transaction results in a
          shortfall, Matrix Trust will promptly cover the shortfall to the extent necessary to process the transaction based on the
          price that would have been paid or realized by the Plan had the transaction been processed on the day Matrix received
          instruction. If the transaction results in an excess,
                                                        excess, Matrix Trust will retain the amount of the excess in a suspense account
          to be applied to future shortfalls.

     I.
     I.   STALE DATED CHECK SERVICES
          Matrix
          M atrix Trust provides services to assist with the resolution of Plan participants'                checks, as directed by an
                                                                                   participants' stale dated checks,
          Authorized Person.
                      Person. Where the named Fiduciary of the Plan and/or its authorized representative(s)
                                                                                                 representative(s) has elected to utilize
          certain services to assist in the resolution of participant related stale dated checks,
                                                                                           checks, a subcontractor to Matrix Trust and
          MSCS,
          MSCS, PBI Research Services,
                                Services, Pension Benefit Information,
                                                            Information, LLC ("PBI"),
                                                                              ("PBI"), receives $
                                                                                                $. per check as direct compensation
          which is deducted directly from the Plan (i.e., from the stale check amount).
                                                                                 amount). This compensation to PBI is for its services
          which includes conducting a search,
                                         search, related communications,
                                                         communications, and distributing funds to affected Plan participants. All float
          income to Matrix Trust will cease with respect to the stopped check from the time the check is stopped,
                                                                                                              stopped, but float income
          related to the period beginning with the issuance of the distribution check through the date the check was stopped will be
          retained by Matrix Trust.

     J.
     J.   PROCEEDS OF CORRECTIVE TRANSACTIONS
          Matrix
            M atrix Trust receives investment instructions and,and, although rare, occasional errors in the instructions themselves or the
            processing of instructions may occur. The causes of such errors may include,
                                                                                     include, but are not necessarily limited to,
                                                                                                                               to, entry of an
                              ("buy" vs. "sell," or vice versa),
          erroneous trade ("buy"                         versa), dollar amount or number of shares,
                                                                                             shares, incorrect identification of the security,
           dduplication            (such as,
              uplication of orders (such as, instructions entered more than once),
                                                                              once), or untimely transmittal of instructions. When an error
            is discovered,
               discovered, action is taken to correct the transaction in a manner intended to avoid or minimize harm or disruption to the
          Plan. Because the price of an investment may change between the processing of erroneous instructions and the execution
          of corrective instructions, a corrective transaction may result in either a shortfall or an excess. If the error originates with
          Matrix
            M atrix Trust and the corrective transaction results in a shortfall, Matrix Trust will promptly cover the shortfall to the extent
           necessary to process the transaction based on the price that would have been paid or realized by the Plan had the
          transaction been processed as instructed. If the corrective transaction results in an excess, excess, Matrix Trust will retain the
          aamount
              mount of the excess in a suspense account to be applied to future shortfalls resulting from trade errors. Consistent with
            positions expressed by the U.S. Department of Labor,
                                                               Labor, any such excess proceeds may be treated as compensation to Matrix
          Trust for its services. The amount of any such compensation cannot be predicted in advance, advance, but generally is not expected
          to be material over time.

     NON-MONETARY COMPENSATION
     Matrix
     M atrix Trust and MSCS Financial maintain policies that place limits on the circumstances under which gifts, travel and
     entertainment may be accepted by employees.
                                      employees. Other than for modest gifts given or received in the normal course of business,
                                                                                                                        business,
     employees are not permitted to receive gifts from clients and vendors.
                                                                   vendors. Under the 408(b)(2)
                                                                                       408(b)(2) regulation,
                                                                                                 regulation, a service provider's
     acceptance of these non-monetary items may involve the receipt of indirect compensation from a plan where the value
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 030118                                                                                                      Matrix        Fee Schedule 020121
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HIGHLY CONFIDENTIAL-ATTORNEYS'
       CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                      Appendix
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                                                                                                                        Broadridge.
                                                                                                                                  Matrix
                                                                                                                                   TRUST COMPANY


           attributable to the plan, on a pro rata basis, exceeds $250 over the term of the plan's contract with the service provider. In light
           of the policies, Matrix Trust does not anticipate that the value of any such non-monetary items will approach the $250 threshold
           with respect to the plan.

III.       MISCELLANEOUS
           Matrix Trust reserves the right to decline acceptance of any Plan assets not discussed during the original account acceptance
           process. Matrix Trust reserves the right to amend this fee schedule at any time with a 30 day advance written notice to the Plan
           Sponsor, or such other time period as specified within the Client Agreement covering the Services.


       ACKNOWLEDGED AND AGREED TO BY:



       Authorized Representative's Signature                                     Date



       Authorized Representative's Name (please print)                           Title



       Company Name




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                                                                                                                                       7/14/2021
   030118                                                                                                      Matrix        Fee Schedule 020121

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                                                                                                                         00002888
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